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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In Re:                                    §       MDL No. 2179
                                          §
         OIL SPILL by the OIL RIG         §       Section: J
         “DEEPWATER HORIZON”              §
         in the GULF OF MEXICO,           §
         on APRIL 20, 2010                §
                                          §       Judge Barbier
THIS DOCUMENT RELATES TO:                 §
Civil Action No. 10-8888                  §       Mag. Judge Shushan

                     ORDER GRANTING MOTION TO WITHDRAW

         The Court has considered the motion of Plaintiff GREEN MACHINES’ counsel of

record, W. Mark Lanier and The Lanier Law Firm, P.C., to withdraw from representing Plaintiff

GREEN MACHINES in the above-entitled and numbered cause, and the motion is hereby

GRANTED.


         It is therefore ORDERED that W. Mark Lanier and The Lanier Law Firm, P.C. be and

hereby are withdrawn and removed from representing Plaintiff Green Machines in this action.

BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES P.C. will remain as Plaintiff

Green Machines’ counsel in this matter.


   DONE AND ORDERED at New Orleans, Louisiana this ____ day of ___________, 2012.


                                          _______________________________
                                          Honorable Carl J. Barbier
                                          U.S. District Court Judge
